Case 2:22-cv-00688-JMY Document 167-6 Filed 05/28/24 Page 1 of 8




   EXHIBIT “E”
        Case 2:22-cv-00688-JMY Document 167-6 Filed 05/28/24 Page 2 of 8




                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


AMERICAN            ENVIRONMENTAL
ENTERPRISES,  INC.,     d/b/a THE
SAFETYHOUSE.COM,

                         Plaintiff,

                         v.
                                                    CIVIL ACTION
MANFRED STERNBERG, ESQUIRE, and
MANFRED STERNBERG & ASSOCIATES, PC, No. 2:22-CV-0688 (JMY)
and CHARLTON HOLDINGS GROUP, LLC, and
SHLOMO GROSS a/k/a SAMUEL GROSS, and
GARY WEISS, and A.SOLAR, LLC, and
DAPHNA      ZEKARIA, ESQUIRE, and
SOKOLSKI & ZEKARIA, P.C.

                         Defendants


 REVISED ANSWERS AND OBJECTIONS OF DEFENDANTS, DAPHNA ZEKARIA,
ESQUIRE, AND SOKOLSKI & ZEKARIA, P.C., TO PLAINTIFF’S INTERROGATORIES

        Defendants, Daphna Zekaria, Esquire and Sokolski & Zekaria, P.C., by and through their

attorneys, Rebar Kelly, hereby file the within Revised Answers and Objections to Plaintiff’s

Interrogatories and state as follows:

        1.      Set forth the date and amount of each sum of money you received from or on behalf

of or in escrow for any of the Stenberg Defendants or any of the Weiss Defendants or any of the

Gross Defendants or anyone else, during the time period of December 1, 2021, through June 30,

2022 and, for each sum, set forth the date and amount of the sum, how you received such sum

(wire, ach, check, etc.) and the reason for your receipt of the sum, identify and produce all

documents evidencing each such transfer, pursuant to the Document Requests.




                                                1
        Case 2:22-cv-00688-JMY Document 167-6 Filed 05/28/24 Page 3 of 8




       ANSWER:         See    documents       previously     produced      and     Bates    stamped

ZEKARIA000017 through ZEKARIA000035.

       2.      For each sum of money you received as set forth in your response to Interrogatory

1, set forth the amount of any sum that is still in your possession or control and the bank name,

bank branch, street address and account number where the sum is currently being held.

       ANSWER:         None of the monies are in my control, as said monies were distributed

in accordance with Mr. Weiss’ instructions.

       3.      For each sum of money you received as set forth in your response to Interrogatory

1 that is no longer in your possession or control, set forth the date and the person or entity to whom

the money was sent, the amount sent, the name of the bank and account number from which the

sum was sent, the name of the bank and account number to which the sum was sent, the purpose

or reason the money was sent, who authorized you to make such disbursement, and for each person

or entity to whom money was sent, provide Contact Information (including without limitation, any

funds sent to Aaron Schlesinger, Esquire or his law firm; and/or Ron Kuby, Esquire, or his law

firm), and identify and produce all documents evidencing each such transfer, pursuant to the

Document Requests.

       ANSWER:         See    documents       previously     produced      and     Bates    stamped

ZEKARIA000017 through ZEKARIA000035.

       4.      Identify any and all escrow agreements or retainer agreements or fee agreements

between you or your law firm, and any of the Weiss Defendants, and/or any of the Gross

Defendants, and/or any of the Sternberg Defendants, and identify and produce all documents

evidencing each such agreement, pursuant to the Document Requests.




                                                  2
       Case 2:22-cv-00688-JMY Document 167-6 Filed 05/28/24 Page 4 of 8




       ANSWER:        Answering Defendants have a retainer agreement with Mr. Weiss

which they have been unable to locate.

       5.      Describe the full nature and extent of your relationship with each of the Weiss

Defendants, and/or each of the Gross Defendants, and/or each of the Sternberg Defendants, and

identify and produce all documents evidencing each such relationship, pursuant to the Document

Requests.

       ANSWER:        Objection.     The information requested in this interrogatory in

overbroad, unduly burdensome, and beyond the scope of permissible discovery, as it deals

with matters protected by attorney client privilege which Mr. Weiss has explicitly chosen not

to waive.

       6.      Identify the dates and amounts of any fees or commissions or other revenue you

received or retained from each of the Weiss Defendants, and/or each of the Gross Defendants,

and/or each of the Sternberg Defendants, and identify and produce all documents evidencing each

such fee or commission or revenue.

       ANSWER:        Answering Defendants did not receive or retain any commission or

other revenue from the transaction that is the subject matter of this litigation.

       7.      Identify any emails or other communications you received from, or that you had

with, any of the Sternberg Defendants and/or the Weiss Defendants, and/or the Gross Defendants,

authorizing each disbursement you made from your attorney escrow account, including date, and

author of each such email or communication (and including the email you told counsel for plaintiff

in the phone conversation of October 2, 2023, that Sternberg sent to you in which he stated that

you could release escrow funds because the goods purchased by plaintiff had been delivered to




                                                3
        Case 2:22-cv-00688-JMY Document 167-6 Filed 05/28/24 Page 5 of 8




plaintiff or were in transit to plaintiff), and identify and produce all documents evidencing each

such communication.

       ANSWER:           See   documents     previously     produced     and     Bates    stamped

ZEKARIA000001 through ZEKARIA000012.

       8.      Identify all communications and documents that you represented to counsel for

plaintiff (in the phone conversation of October 2, 2023) that you had in your possession or control,

that you represented would establish the liability of the Sternberg Defendants, and produce all such

documents, pursuant to the Document Requests.

       ANSWER:           Answering Defendants are unable to locate any documents responsive

to this interrogatory.

       9.      Identify all communications and documents that you represented to counsel for

plaintiff (in the phone conversation of October 2, 2023), that you had tin your possession or

control, that you represented would establish that Sternberg was the “mastermind” of the

transactions that are the subject of plaintiff’s Complaint and describe in detail how Sternberg was

the “mastermind,” and produce all such documents, pursuant to the Document Requests.

       ANSWER:           Answering Defendants are unable to locate any documents responsive

to this interrogatory.

       10.     Identify any and all communications including, but not limited to, letters, emails

and texts, which reflect, refer or relate to any your receipt of any diamonds and/or gemstones or

any other collateral from any Weiss Defendant, including the date and time and where and what

you received, and from whom, and for what purpose, and produce all such documents, pursuant to

the Document Requests.




                                                 4
        Case 2:22-cv-00688-JMY Document 167-6 Filed 05/28/24 Page 6 of 8




       ANSWER:           Answering Defendants are unable to locate any documents responsive

to this interrogatory.

       11.     Identify any and all communications including, but not limited to, letters, emails

and texts, which reflect, refer or relate to any your subsequent disposition of any diamonds and/or

gemstones or any other collateral you received from any Weiss Defendant, including the date and

time and where and what you transferred, and to whom, and for what purpose, and produce all

such documents, pursuant to the Document Requests.

       ANSWER:           Answering Defendants are unable to locate any documents responsive

to this interrogatory.

       12.     Identify each broker or sales agent to whom a commission or other fee was paid or

supposed to be paid in connection with the Test Kits purchased by plaintiff, for each such person

set forth the amount that was supposed to be paid, and the date paid if payment was made, and

provide the Contact Information for each such broker or sales agent, and identify and produce all

such documents, pursuant to the Document Requests.

       ANSWER:           Unknown to Answering Defendants.

       13.     Identify and describe in detail the nature and extent and disposition of each prior

transaction or matter in which you represented or rendered legal advice to any of the Gross

Defendants, including dates of such representation or advice, the subject matter of such

representation or advice, and how much you were paid for such representation or advice.

       ANSWER:           Objection.   The information requested in this interrogatory in

overbroad, unduly burdensome, and beyond the scope of permissible discovery, as it deals

with matters protected by attorney client privilege,




                                                5
        Case 2:22-cv-00688-JMY Document 167-6 Filed 05/28/24 Page 7 of 8




       14.    Identify and describe in detail the nature and extent and disposition of each prior

transaction or matter in which you represented or rendered legal advice to any of the Weiss

Defendants, including dates of such representation or advice, the subject matter of such

representation or advice, and how much you were paid for such representation or advice.

       ANSWER:        Objection.    The information requested in this interrogatory in

overbroad, unduly burdensome, and beyond the scope of permissible discovery, as it deals

with matters protected by attorney client privilege which Mr. Weiss has explicitly chosen not

to waive.

                                                   REBAR KELLY


                                                   ____________________________________
                                                   Cathleen Kelly Rebar, Esquire (ID # 82872)
                                                   Patrick J. Healey, Esquire (ID# 63155)
                                                   470 Norristown Road
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                                                   Blue Bell, PA 19422
                                                   (484) 344-5340
                                                   Attorneys for Defendants, Daphna Zekaria,
                                                   Esquire and Sokolski & Zekaria, P.C.

DATE:         April 15, 2024




                                               6
        Case 2:22-cv-00688-JMY Document 167-6 Filed 05/28/24 Page 8 of 8




                                        VERIFICATION

       I, Daphna Zekaria, under penalty of perjury pursuant to 28 U.S.C. § 1746, affirm that I

have reviewed the foregoing Revised Answers and Objections to Plaintiff’s Interrogatories and

they are, to the best of my knowledge, true and correct.


                                                           ______________________________
                                                           Daphna Zekaria

DATE: April 12, 2024
